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UNITED STATES BANKRUPTCY CourT © '|. ED

District of _Delaware 9999 JUL 17 AMIGO: 15

In Re:
Sio2 Medical Products, Inc.
Case No. 23-10366

Debtor(s) Chapter 11

Withdraw of Claim

|, Jon Dustrud on behalf of Water Street Funding LLC, Claimant, hereby withdraw claim
number unknown, for the following reason:

e Payment obligations under Equipment Lease Agreement 006 were satisfied.

Dated: _07/05/23___ at

Claimant’s Signature
